          Case
AO 106 (Rev. 04/10) 2:19-mj-05370-DUTY
                    Application for a Search Warrant    Document 1 Filed 12/16/19 Page 1 of 30 Page ID #:1

                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                          Central District
                                                       __________  Districtofof
                                                                              California
                                                                                __________

                  In the Matter of the Search of                       )
                                                                       )
                                                                                          2:19-mj-5370
                         Theodore John “TJ” Heuer
                                                                       )      Case No.
                 described further in Attachments
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                                                                       )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
      See Attachments A-1 and A-2
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    evidence of a crime;
                    contraband, fruits of crime, or other items illegally possessed;
                    property designed for use, intended for use, or used in committing a crime;
                    a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                        Offense Description
        See Attachment B                                                        See Attachment B


          The application is based on these facts:
                See attached Affidavit
                  Continued on the attached sheet.
        Delayed notice of              days (give exact ending date if more than 30 days:                             ) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                             Applicant’s signature

                                                                                  LOGAN BONIFAS, SPECIAL AGENT DRUG
                                                                                  ENFORCEMENT ADMINISTRATION
Sworn to before me and signed in my presence.                                                Printed name and title


Date:
                                                                                               Judge’s signature

City and state: Los Angeles, California                                                  HONORABLE FREDERICK F. MUMM

                                                                                             Printed name and title
AUSA: Ali Moghaddas – 213-393-5735
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                            ATTACHMENT A-1
PERSON TO BE SEARCHED

     The person of Theodore John “TJ” Heuer (“HEUER”), date of

birth September 29, 1990, with California driver’s license

number Y9151687.    HEUER’s California Department of Motor Vehicle

records list him as standing 6’2” tall with brown hair and blue

eyes.

     The search of HEUER shall include any and all clothing and

personal belongings, digital devices, backpacks, wallets,

briefcases, purses, and bags that are within HEUER’s immediate

vicinity and control at the location where the search warrant is

executed.   The search shall not include a strip search or a body

cavity search.




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                            ATTACHMENT A-2
PREMISE TO BE SEARCHED

     The SUBJECT PREMISES to be searched is in the Villa

Treatment Center, 5051 Hood Dr., Woodland Hills, CA, 91364,

which is a single-family home operating as a residential

treatment facility.    Law enforcement shall attempt to determine

the rooms, bathrooms, storage units, garages, detached

structures, sheds, safes, lockers, and safety deposit boxes

assigned for HEUER’s use, on the date of execution of the search

warrant.   The search shall be of those rooms, bathrooms, storage

units, garages, detached structures, sheds, safes, lockers, and

safety deposit boxes assigned for HEUER’s use and also shall

include any vehicles located on the premises used by HEUER.




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                              ATTACHMENT B

I.   ITEMS TO BE SEIZED
          The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

§ 841(a)(1) (distribution and possession with intent to

distribute controlled substances) and 21 U.S.C. § 846

(conspiracy and attempt to distribute and to possess with intent

to distribute controlled substances) (the “Subject Offenses”),

namely:

          a.    Any controlled substance, controlled substance

analogue, or listed chemical;

          b.    Items and paraphernalia for the manufacturing,

distributing, packaging, sale, or weighing of controlled

substances, including scales and other weighing devices, plastic

baggies, food saver sealing devices, heat sealing devices,

balloons, packaging materials, containers, and money counters;

          c.    Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, carbon paper, rubber bands, duct tape

or wrapping tape, plastic wrap or shrink wrap, and plastic

sealing machines;

          d.    United States currency over $1,000 or bearer

instruments worth over $1,000 (including cashier's checks,

traveler’s checks, certificates of deposit, stock certificates,

and bonds) (including the first $1,000), and data, records,

documents, or information (including electronic mail, messages

over applications and social media, and photographs) pertaining



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to, obtaining, possessing, using, applications for, or

transferring money over $1,000, such as bank account records,

cryptocurrency records and accounts;

          e.    Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with co-conspirators, sources of supply of

controlled substances, or drug customers, including calendars,

address books, telephone or other contact lists, pay/owe

records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities,

and/or times when drugs were bought, sold, or otherwise

distributed, whether contained in hard copy correspondence,

notes, emails, text messages, photographs, videos (including

items stored on digital devices), or otherwise;

          f.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          g.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

          h.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to



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show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;

          i.    Records, documents, programs, applications,

materials, or conversations relating to the trafficking of

drugs, including ledgers, pay/owe records, distribution or

customer lists, correspondence, receipts, records, and documents

noting price, quantities, and/or times when drugs were bought,

sold, or otherwise distributed;

          j.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs;

          k.    Contents of any calendar or date book;

          l.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          m.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          n.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,



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configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.



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          As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.


II. SEARCH PROCEDURE FOR DIGITAL DEVICES


          In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:
          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine


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whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

          c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.

          d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

          e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,




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the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

           The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the



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custody and control of attorneys for the government and their

support staff for their independent review.

           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           During the execution of this search warrant, law

enforcement is permitted to: (1) depress HEUER’s thumb and/or



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fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in

front of HEUER’s face with his eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.         In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT
I, Logan D. Bonifas, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of a warrant to

search:

           a.    The person of Theodore John “TJ” Heuer (“HEUER”),

as described more fully in Attachment A-1; and

           b.    The room and storage spaces assigned to HEUER at

5051 Hood Dr., Woodland Hills, CA 91364 (the “SUBJECT

PREMISES”), as described more fully in Attachment A-2.

           The requested search warrants also seek authorization

to seize evidence, fruits, or instrumentalities of violations of

21 U.S.C. § 841(a)(1) (distribution and possession with intent

to distribute controlled substances) and 21 U.S.C. § 846

(conspiracy and attempt to distribute and possess with intent to

distribute controlled substances) (the “Subject Offenses”), as

described more fully in Attachment B.        Attachments A-1, A-2, and

B are incorporated herein by reference.

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrants,

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated
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otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                       II. BACKGROUND OF AFFIANT
           I am a Special Agent with the United States Drug

Enforcement Administration (“DEA”), and have been so employed

since April 2019.     I am currently assigned to the DEA’s High

Intensity Drug Trafficking Area (“HIDTA”) division in Los

Angeles.   Additionally, I am a member of the HIDTA Opioid

Response Team, HIDTA Group 45, which is tasked with

investigating suspected opioid-related overdose deaths in Los

Angeles County.

           As a Special Agent, I received sixteen weeks of

comprehensive, formalized instruction by the DEA at the

Department of Justice Training Center on various topics,

including drug identification, money laundering techniques,

patterns of drug trafficking, methods of operation used by

members of drug conspiracies, the exploitation of narcotics

traffickers’ telecommunications devices, criminal law,

surveillance, and decoding drug related conversations.

           Prior to my employment with the DEA, I was employed

for three years by the Ohio State Highway Patrol as a State

Trooper.   As a State Trooper, I interviewed drug users, buyers,

sellers, manufacturers, transporters, and informants, and I

discussed with them the various methods they used to safeguard

their drug stashes and illegal proceeds and avoid detection by

law enforcement.




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                    III. SUMMARY OF PROBABLE CAUSE
           As discussed in greater detail below, on or about

September 29, 2019, 38 year-old C.N. died of a suspected drug

overdose in a motel room registered to HEUER.         HEUER, a known

drug distributor who sells drugs, including fentanyl, admitted

that he was with C.N. since the day prior to her death and that

he only left C.N. 30 minutes before she was found dead.           Prior

to the Emergency Medical Technicians’ (“EMT”) and law

enforcement’s arrival, HEUER was seen on the motel’s

surveillance footage making furtive movements and hiding two

bags outside his room.      During a subsequent recorded

conversation, HEUER states that he “got so lucky” and “grabbed

all of his shit” and threw it into his backpack before the EMTs

arrived.   HEUER is also heard admitting to the presence of

fentanyl in his motel room, and later, suggesting that C.N. may

have “just did fent[anyl] by accident.”        Witness testimony

further confirms that HEUER and his associates sell drugs

surreptitiously laced with fentanyl.

           In July 2019, the Burbank Police Department arrested

HEUER with drugs for distribution, including fentanyl.           HEUER

pled no contest to California Health and Safety Code Section

11378, Possession of Methamphetamine for Sale, and on November

22, 2019, HEUER was sentenced to 16 days of jail and three years

of formal probation, including three months at a residential

treatment facility.     HEUER currently resides at the SUBJECT

PREMISES, a room at that residential treatment facility.




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                    IV. STATEMENT OF PROBABLE CAUSE
           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      A.   Overdose Death of C.N
           On or about September 29, 2019, C.N. was found dead of

a suspected drug overdose by an employee of the Beverly Merlot

Motel at 8755 W. Olympic Boulevard, Room 307, Los Angeles, CA,

90035 (hereinafter, the “Beverly Merlot Motel”). 1         The employee,

William Villalta, told LAPD officers that he responded to a

service request for a clogged toilet in Room 307 at

approximately 2:00 p.m.      As described below, Room 307 was

registered to HEUER, who had been staying in that room for

approximately a week prior.

           Villalta also told LAPD officers that earlier that

day, Villalta had visited Room 307 on two prior occasions and

saw HEUER, C.N., and an unknown male in the room.          During his

visits, Villalta saw drugs and drug paraphernalia in the room.

When he returned at approximately 2:00 p.m. to fix the clogged

toilet, HEUER and the unknown male were not present.           Villalta

found C.N. alone on the bed and propped up against the wall not

breathing.    Villalta attempted to feel C.N.’s pulse but could

not locate it.    Shortly after finding C.N., Villalta also called

HEUER from his cellphone.




      1An autopsy and toxicology report by the Los Angeles
Medical Examiner-Coroner is forthcoming.


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           I reviewed surveillance footage from a security camera

outside Room 307 which captures some of the audio from

Villalta’s call, in which Villalta can be heard saying:           “What

the fuck do I do?     T.J., T.J., T.J., [referring to HEUER] I need

your help, I need your help, I need your help.          Dude, nobody’s

here, nobody’s here, that’s why I’m tripping.         You guys left her

alone [unintelligible] she’s dead . . ..”

           Also based on the surveillance video, moments later,

Villalta can be heard speaking with an unknown male and asking

if he knows how to administer Narcan –- an opioid antagonist

commonly used to reverse the effects of an opioid overdose.            The

unknown male responds that he does not know how.          Villalta later

told LAPD officers that he attempted to perform CPR on C.N. but

to no avail.

           Villalta is also observed on the security footage

frantically pacing the hallways yelling for HEUER.          Minutes

later, HEUER appears with a calm demeanor and tells Villalta to

“calm down.”    An unidentified voice then asks HEUER if he has

“fent” in there, to which HEUER replies “yeah.”          (I know that

fent is a slang term for fentanyl.)

           Before the EMTs arrived, HEUER is seen on surveillance

footage making furtive movements and hiding a backpack behind an

exit door.    Moments later, HEUER disappears from the

surveillance footage and reemerges with a duffle bag, which he

then hides behind the door in a neighboring room (Room 309).            On

a subsequent recording made later that evening, discussed below,

HEUER describes the foregoing action: “Dude, yo check this out.



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When that happened bro, I got so lucky that before the fucking

EMTs got here and [unintelligible] was running out, I said

‘fuck’ and I grabbed all of my shit and fucking boom, got it

into my backpack . . ..”

            After LAPD officers arrived and interviewed several

witnesses, HEUER spoke with the officers.         HEUER told LAPD

officers that he knew C.N.      HEUER stated that C.N. came over to

HEUER’s room (Room 307) the day prior, and that C.N. used

“Special K” throughout the morning.        (I know “Special K” is a

slang term for ketamine.)      HEUER stated he last saw C.N. at or

around 2:30 p.m. on or about September 29, 2019.          HEUER stated

that C.N. appeared to be sleeping on the bed when HEUER left

Room 307.

      B.    Interview of A.H.
            On or about October 16, 2019, I, along with other law

enforcement personnel, interviewed A.H., a witness who requested

to remain confidential at this time.        During the interview, A.H.

was shown a photograph of HEUER from which he/she was able to

identify HEUER.    A.H. stated that he/she received a recorded

conversation from Sarah Theden (“Theden”), a friend of C.N.,

between Theden, HEUER, and another individual that occurred in

the early morning hours of September 30, 2019.

            I have reviewed the recording and can identify HEUER’s

voice heard therein.     HEUER stated C.N. was in a “K-Hole”, and

C.N. had shallow breathing when HEUER left the room.           (I know

that “K-Hole is a slang term describing the result of consuming

ketamine and how the body reacts to ketamine.)          HEUER further



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stated Villalta called HEUER stating that C.N. was overdosing.

HEUER recalled entering the Room 307 and seeing Villalta and

another individual giving C.N. CPR.        In the recording, HEUER

stated he and C.N. were hanging out the past two days before

C.N.’s death.    HEUER also stated that he had no idea that C.N.

did not do “fetty”.     (I know that fetty is a slang term for

fentanyl.)    HEUER stated that “I just made a quick assumption

when she started going down that that yup, she just did fent by

accident.”

            In addition to the foregoing recording, A.H. also

provided the undersigned a photograph of a note from C.N.’s

notebook.    The note, which A.H. states is C.N.’s handwriting,

states: “TJ Prices? 1. 600 1/2 oz. girl. 2. $280 x3g’s fendi. 3.

$3.50 bars. 4. 700 piece. Blk.”       (I know that “girl” is a slang

term for cocaine, “fendi” is a slang term for fentanyl, “bars”

is a slang term for Xanax, and “black” or “blk” are slang terms

for heroin.).    Based on my training and experience, I believe

C.N.’s note lists a price schedule for various drugs HEUER

offers for sale.

      C.    Interview of S.L.
            On or about October 30, 2019, I, along with law

enforcement personnel interviewed S.L., another witness who

requested to remain confidential at this time.          During the

interview, S.L. was shown a photograph of HEUER from which

he/she was able to identify HEUER.        S.L. stated that she has

purchased drugs from HEUER and his associate in the past.            S.L.

stated that approximately five weeks from this date, S.L.



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purchased Xanax bars from HEUER’s associate, whom S.L. knows as

“Logan.”     S.L. stated she ingested a portion of the suspected

Xanax bar and overdosed, which was unusual for the drug type and

amount S.L. ingested.

             S.L. stated a few days later, he/she met HEUER at the

Beverly Merlot Motel to purchase additional drugs from HEUER.

Several unidentified individuals were in the motel room with

HEUER.     S.L. purchased Xanax bars and heroin from HEUER.        Prior

to ingesting the Xanax bar, S.L. asked HEUER if the Xanax bars

were the same ones that S.L. purchased from Logan several days

prior.     HEUER responded affirmatively and told S.L. that Logan

gets Xanax bars from HEUER and works for HEUER.

             S.L. recalled that after ingesting a portion of the

Xanax bar in HEUER’s motel room, S.L. passed out.          Shortly

thereafter, S.L. was found outside Sage Clinic, a sober living

house on 8701 W Olympic Boulevard, Los Angeles, CA, 90035, where

a Sage Clinic employee administered four units of Narcan to S.L.

After S.L.’s overdose, S.L. was given a drug urinalysis, which

revealed the presence of fentanyl.        S.L. stated she did not

knowingly ingest fentanyl and suspects that the Xanax bars were

pressed, or suspected to be counterfeit, pills that contained

fentanyl.

      D.     HEUER’s July 2019 Drug-Related Arrest
             Based on my review of police reports, I know that on

or about July 25, 2019, HEUER was pulled over and arrested by

the Burbank Police Department for, inter alia, violation of

Health and Safety Code Section 11378, Possession of Controlled



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Substance for Sale.     A probable cause search of HEUER’s vehicle

revealed multiple clear plastic baggies containing a white

crystalline substance, believed to be methamphetamine, in

amounts larger than commonly possessed for personal use.           The

officers further found two plastic baggies containing a blue-ish

crystalline substance, which were later determined to be

fentanyl.    The officers also found approximately 75 empty clear

plastic baggies, three cell phones, and a digital scale.

            Based on my training and experience, I know that

people who are involved in the sales of narcotics tend to carry

multiple plastic baggies to distribute drugs.         I also know that

possessing multiple cell phones and a digital scale is

consistent with narcotics distribution.

            Based on my review of HEUER’s criminal history

records, I understand that based on the foregoing conduct, HEUER

was charged with Possession of Controlled Substance for Sale, in

violation of Health and Safety Code Section 11378, in the

Superior Court of the State of California, County of Los

Angeles, case number GA106214.

            The records in that case show that HEUER pled no

contest to Possession of Controlled Substance for Sale in

violation of Health and Safety Code Section 11378.          On November

22, 2019, HEUER was sentenced to 16 days of jail and three years

of formal probation that includes three years of search

conditions.    In addition, HEUER was ordered to participate in

six months of drug treatment, which consists of three months of

residential treatment and three months of outpatient treatment.



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      E.      HEUER Lives at the SUBJECT PREMISES
              On or about November 20, 2019, the Honorable Frederick

M. Mumm, United States Magistrate Judge, authorized warrants for

cell-site, GPS, and Stingray information pertaining to HEUER’s

phone, as described more fully in the applications at 19-mj-4946

and 19-mj-4947.

              Based on the foregoing warrants, I traced HEUER’s

phone location to the Villa Treatment Center located at 5051

Hood Dr., Woodland Hills, CA 91364.        The Villa Treatment Center

is a residential treatment facility operating out of what

appears to be a single-family home.        I have now confirmed with

the Los Angeles County Probation telephone line for law

enforcement that HEUER is residing at the Villa Treatment

Center, for the next three months as part of his court-ordered

residential treatment in his state case.

              Based on my search of Villa Treatment Center in a

publicly available database, I understand that the Villa

Treatment Center appears to be a single-family home in a

residential area that is approximately 3,823 square feet in

total, with five bedrooms and five bathrooms.         Based on my

training and experience, I understand that patients in such

treatment facilities are commonly assigned a room in which to

live.      I also know, based on my training and experience that it

is common practice for residential treatment centers to allow

their clients to use their personal belongings, such as cell

phones, but that at times they will store such items outside the

clients’ rooms in designated storage areas.         Based on this



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common practice, as described more fully in Attachments A-1 and

A-2, I am requesting a search warrant to search and seize items

within HEUER’s immediate vicinity and control as well as the

SUBJECT PREMISES, which is his room at the Villa Treatment

Center including any bathrooms, storage units, garages, detached

structures, sheds, safes, lockers, and safety deposit boxes

assigned for HEUER’s use, and HEUER’s vehicles parked at the

SUBJECT PREMISES.

           Based on my training and experience, given the

sensitivity of this investigation and the small size of the

Villa Treatment Center (the size of a single-family home), I

believe that contacting the Villa Treatment Center earlier than

the date of execution of the search warrant will result in Villa

Treatment Center staff or another patient informing HEUER of the

investigation.    This would cause HEUER to destroy evidence,

interfere with the investigation, and possibly intimidate

witnesses and/or flee prosecution.

           So as to have a minimal impact on the other patients

at the facility and the operations of the facility itself, law

enforcement will attempt to identify HEUER’s assigned room and

related spaces, including by asking the staff at the Villa

Treatment Center to identify HEUER’s room and any storage units,

garages, detached structures, sheds, safes, lockers, and safety

deposit boxes assigned for HEUER’s use, on the date of execution

of the search warrant.




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            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel in connection with their illegal

activities in order to meet with co-conspirators, conduct drug

transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, on their person,

and in their residences and vehicles.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or



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others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices, on their person, and in their residences.

Drug traffickers often keep records of meetings with associates,

customers, and suppliers on their digital devices and in their

residence, including in the form of calendar entries and

location data.

           e.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often kept on or near their

person and stored in their residences and vehicles.

           f.    Drug traffickers often keep drugs in places where

they have ready access and control, such as on or near their

person and at their residence.       They also often keep other items

related to their drug trafficking activities at their residence,

such as digital scales, packaging materials, and proceeds of

drug trafficking.     These items are often small enough to be

easily hidden and thus may be kept at a drug trafficker’s

residence even if the drug trafficker lives with others who may

be unaware of her criminal activity.

           g.    It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and



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suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 2
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.


      2As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.




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           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises or in a short period of time for

a number of reasons, including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or



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eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress HEUER’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of HEUER’s face

with his eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.




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                             VII. CONCLUSION
           For all of the reasons described above, there is

probable cause to believe that the items to be seized described

in Attachment B will be found in a search of HEUER’s person and

the SUBJECT PREMISES as described in Attachments A-1 and A-2.            I

also request that the Court order the staff at Villa Treatment

Center to make the disclosures required in Section V above, as

described in Attachment A-2.




                                          LOGAN D. BONIFAS
                                          DEA Special Agent

Subscribed to and sworn before me
this ____ day of December, 2019.



HONORABLE FREDERICK F. MUMM
UNITED STATES MAGISTRATE JUDGE




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